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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS
EAST ST. LOUIS DIVISION

 

JOHN BERRIEN, )
) _ oan
Plaintiff, ) wo: [deev-5G2
)
VS. )
)
SWIFT TRANSPORTATION CO OF ) Removed from Madison County, IL
ARIZONA, LLC, and JERRY ADAMS, ) No: 18-L-1659
DB HOLDING CORPORATION, )
SCHENKER, INC., SCHENKER GLOBAL)
MANAGEMENT & TECHNOLOGY )
CENTER AMERICAS, INC., SCHENKER _ )
AMERICA, INC., PROCTOR & GAMBLE _)
DISTRIBUTING, LLC, and THE )
PROCTOR & GAMBLE )
MANUFACTURING COMPANY )
COMPANY, INC., )
)
Defendants. )
NOTICE OF REMOVAL

Defendants JERRY ADAMS and SCHENKER, INC., through their attorneys, REED,
ARMSTRONG, MUDGE & MORRISSEY, P.C., state as follows:

1, This is a civil action filed on December 12, 2018 in the Third Judicial Circuit,
Madison County, IL number 2018-L-1659 entitled John Berrien, Plaintiff vs. Swift Transportation
Co of Arizona, LLC, et al., Defendants.

2. Plaintiff's complaint asserted claims against several defendants, including Schenker
Americas, Inc. and Schenker Global Management & Technology Center Americas, Inc., that have
been dismissed. The only defendants remaining in the action are Defendant Jerry Adams and
Defendant Schenker, Inc.

3, Defendant Jerry Adams was served with a Summons and a complaint on January 7,
2019. Defendant Schenker, Inc. was served with a Summons and a complaint on February 4, 2019.

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4, This action for personal injuries is based on an accident which occurred on or about
December 27, 2016. This action, as now constituted, is wholly between citizens of different states:

(a) At the time this action was filed, the plaintiff John Berrien was a citizen
of Polk County, FL.

(b) At the time this action was filed, Defendant Jerry Adams was a citizen of
St. Louis County, MO.

(c) At the time this action was filed, Defendant Schenker, Inc. was a New
York corporation with its principle place of business in Virginia. It
was therefore a citizen of New York and Virginia.

5. Plaintiff's complaint alleges that on or about December 27, 2016 his vehicle was
struck by Defendant Adams’ tractor trailer. As a result of this collision, Plaintiff alleges he was
caused to sustain “severe and permanent disability and disfiguring injuries,” including “injuries to
his neck, back, leg, foot and body as a whole.” Plaintiff alleges that he has lost and in the future
will continue to lose large sums of money due to his inability to pursue his occupation, and that he

has paid or become liable to pay and in the future will continue to pay large sums of money in

procuring “necessary hospital and medical treatments.” (Exhibit “A”)

6. Plaintiffs complaint seeks damages in excess of $75,000.00, exclusive of interest
and costs.
7. This case was not originally removable when filed. At the time the complaint was

filed, Schenker Americas, Inc. and Schenker Global Management & Technology Center Americas,
Inc. were named as defendants. Both companies have a principle place of business in Miami, FL
and are therefore Florida citizens. On May 3, 2019 the Circuit Court of Madison County, IL
dismissed Schenker Americas, Inc. and Schenker Global Management & Technology Center
Americas, Inc, with prejudice. (Exhibit “A’’)

8. The Court for the United States District Court for the Southern District of Ilinois has
original jurisdiction under 28 U.S.C. 1332 by reason of diversity of citizenship between Plaintiff

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and Defendants and the amount in controversy, exclusive of interest and costs, exceeds $75,000.
Defendants are entitled to remove the case pursuant to 28 U.S.C. Sec. 1441.
9, This Court is the district court of the United States for the district and division

embracing the place where the action is pending.

10. As required by 28 U.S.C. Sec. 1446(a), a copy of all documents contained in the
Madison County Court file are attached hereto and made a part hereof. (Exhibit “A”’)
11. The Affidavit of attorney Michael J. Bedesky, counsel for Defendants, is also

attached hereto and made a part hereof. (Exhibit “B”)

12. This Notice of Removal is timely under 28 U.S.C. § 1446 because it is being filed
within thirty days after the receipt by Defendants, through service or otherwise, of a copy of an
order from which it may first be ascertained that the case is one which is or has become removable

and the action was commenced less than one year ago.

WHEREFORE, Defendants Jerry Adams and Schenker, Inc. pray that this Honorable Court

accept jurisdiction of this action.

REED, ARMSTRONG, MUDGE & MORRISSEY,
P.C.

By: /s/ Michael J. Bedesky
Michael J. Bedesky, #0620655 1
Martin K. Morrissey, #06191536
115 North Buchanan, P.O. Box 368
Edwardsville, IL 62025
Telephone: (618) 656-0257/ 618) 692-4416 (Fax)
mbedesky@reedarmstrong.com
mmorrissey@reedarmstrong.com
Kateryna@reedarmstrong.com

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CERTIFICATE OF SERVICE
I hereby certify that on May 30, 2019, I electronically filed the Notice of Removal with the
Clerk of the Court using the CM/ECF system, and on May 30, 2019, I placed a copy of the Notice
of Removal with attachments in the United States Mail addressed to:

Gregory L. Shevlin

COOK, BARTHOLMEW, SHEVLIN & COOK, LLP
12 West Lincoln Street

Belleville, IL 62220

(618) 235-3500 /(618) 235-7286

gls@cbsclaw.com
Attorneys for Plaintiff John Berrien

and

I emailed a copy of the Notice of Removal with attachments to the following:

Gregory L. Shevlin

COOK, BARTHOLMEW, SHEVLIN & COOK, LLP
12 West Lincoln Street

Belleville, IL 62220

(618) 235-3500 / (618) 235-7286

gls@cbsclaw.com
Attorneys for Plaintiff John Berrien

REED, ARMSTRONG, MUDGE & MORRISSEY,
P.C,

By:  /s/ Michael J. Bedesky
Michael J. Bedesky #06206551
115 North Buchanan
P.O. Box 368
Edwardsville, IL 62025
(618) 656-0257 / (618) 692-4416 (Fax)
mbedesky@reedarmstrong.com

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